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                             No. 24-1437


     IN THE UNITED STATES COURT OF APPEALS
            FOR THE SEVENTH CIRCUIT


               CUTBERTO VIRAMONTES, et al.,
                                       Plaintiffs-Appellants,

                                    v.

                   THE COUNTY OF COOK, et al.,
                                           Defendants-Appellees.


 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS (No. 21-cv-4595)
        HONORABLE REBECCA R. PALLMEYER


      REPLY BRIEF OF PLAINTIFFS-APPELLANTS


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                            INTRODUCTION

     Cook County’s brief is notable for what it does not do. It does not

dispute that AR-15-style rifles, which the County bans, are the most

popular rifles in the country and one of the most popular firearms of any

type. It does not claim that the modern, semiautomatic AR-15-style rifle,

which has “traditionally … been widely accepted as [a] lawful

possession[,]” Staples v. United States, 511 U.S. 600, 611–12 (1994), is a

military firearm anywhere in the world. It does not dispute that

semiautomatic fire is inherently more accurate than automatic fire, the

paradigmatic uniquely military feature of military rifles. And it does not

dispute that the AR-15-style rifle is both “bearable” and preferred for

purposes of self-defense by millions of law-abiding Americans. Those

salient points are enough for Plaintiffs to win this case regardless of

whether this Court applies the standard from Bevis v. City of Naperville,

85 F.4th 1175 (7th Cir. 2023) or District of Columbia v. Heller, 554 U.S.

570 (2008).

     What the County does, instead, is ask the Court not to consider the

arguments in this case at all, and treat two pre-New York State Rifle &

Pistol Association, Inc. v. Bruen, 597 U.S. 1 (2022), decisions of this Court



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as controlling. Failing that, the County asks the Court to ignore

Plaintiffs’ arguments and close its eyes to indisputable facts, because it

claims that Plaintiffs waived and forfeited virtually every argument they

make on appeal. But these claims lack merit. And what the County is left

with, as a final alternative, is a plea for this Court to permit it to ban

common semiautomatic rifles, including AR-15-style rifles, because the

County considers them to be “dangerous” weapons. But that principle is

inconsistent with Supreme Court precedent and the facts, which show

that the banned arms are not “dangerous” in any relevant sense.

                              ARGUMENT

 I.   Friedman and Wilson Are Not Controlling.

      The County begins by arguing that Plaintiffs’ claims are foreclosed

by this Court’s decisions in Friedman v. City of Highland Park, 784 F.3d

406 (7th Cir. 2015) and Wilson v. Cook County, 937 F.3d 1028 (7th Cir.

2019) (per curiam). Br. of Defendants-Appellees 15–16, Doc. 20 (Aug. 29,

2024) (“County Br.”). This argument has a central problem, which

Plaintiffs identified in their opening brief, and for which the County has

no answer: It is incompatible with Bevis. See Br. of Plaintiffs-Appellants

37–38, Doc. 14 (June 24, 2024) (“Pls’. Br.”). The County suggests Bevis’s



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lengthy analysis merely “confirmed Friedman and Wilson’s ongoing

vitality” but that does not make sense. County Br. 16. Under Friedman

and Wilson, the Illinois ban (and related local bans) at issue in Bevis

would be constitutional, full stop. But the Seventh Circuit in Bevis did

not finally resolve the issue but rather laid out a framework (different

from the analysis in Friedman) for analyzing Second Amendment

challenges to bans on types of firearms and firearm magazines and

couched its analysis in explicitly preliminary terms. See Bevis, 85 F.4th

at 1203. Had Friedman and Wilson still controlled, it would have gone

further.

II.   Plaintiffs’ Arguments Under Bevis Are Properly Before This
      Court

      The County next urges this Court not to reach Plaintiffs’ arguments

that they can (and should) prevail on this appeal under Bevis, arguing

that Plaintiffs have misconstrued the scope of Bevis and have waived or

forfeited nearly all their arguments on appeal. County Br. 17–18. These

assertions lack merit.




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        A. Bevis Did Not Resolve the Constitutionality of the
          Ordinance.

     The County starts by attacking strawmen, rebutting a purported

argument that “Bevis is distinguishable, because Bevis did not involve

the Ordinance at issue here,” with the fact that the County’s ordinance

was before this Court in Bevis. County Br. 18. But Plaintiffs have not

made that argument. Rather, Plaintiffs argued: (1) that this Court can

and should overrule Bevis as inconsistent with Heller, Bruen, and

Rahimi, and (2) even if the Court applies Bevis, Plaintiffs can succeed in

showing that Cook County’s ordinance is unconstitutional on final

judgment under the standard laid out in that decision. Nowhere did

Plaintiffs suggest that Bevis was somehow distinguishable because the

panel conducted its analysis primarily with respect to PICA. The critical

point is that, on its own terms, Bevis’s conclusions about the

constitutionality of the bans at issue were explicitly preliminary. See,

e.g., Bevis, 85 F.4th at 1197 (“We conclude this portion of the opinion by

stressing again that this is just a preliminary look at the subject.”);

County Br. 18–19. Bevis did not even finally resolve the parties’ claims

in Bevis, so it is hard to understand how it could have finally resolved

them in this case. While this Court may conclude that the analytical


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framework laid out in Bevis should govern, the application of that

framework on summary judgment is not controlled by the preliminary

application in Bevis. See Univ. of Tex. v. Camenisch, 451 U.S. 390, 395

(1981).

          B. Plaintiffs Have Not Waived or Forfeited Any Argument
             Under Bevis.

     1.     The   County   claims    that     “Viramontes       raises   various

arguments framed to distinguish the facts of this case from Bevis which

were never asserted in the lower court and should thus be deemed

forfeited.” County Br. 19. This argument is difficult to understand. The

cross-motions for summary judgment below were fully briefed by June

2023, see D. Ct. Doc. 118, months before the Seventh Circuit decided

Bevis in November 2023. And following Bevis, the district court did not

solicit additional briefing from the parties, so the only substantive

discussion of the Bevis standard anywhere in the district court record was

a brief notice of supplemental authority filed by the County and a

similarly brief response filed by Plaintiffs. See D. Ct. Docs. 122, 123.

Plaintiffs are aware of no authority—and the County cites none—holding

that arguments regarding new authority can be deemed forfeited or

waived on appeal if not made in a notice of supplemental authority to the


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district court. See Gallagher v. San Diego Unified Port Dist., 14 F. Supp.

3d 1380, 1388 (S.D. Cal. 2014) (“The language of [Rule 28(j)] itself does

not indicate any mandatory directive that a party must supplement or

raise an intervening decision or else risk waiver of arguments that rely

on new law.”).

     2.    The County next argues that Plaintiffs’ reliance on evidence

that “was not presented to the district court, or was presented only in his

response to the County’s statement of material facts” similarly violates

forfeiture principles. County Br. 19. But again, Bevis had not been

decided when Plaintiffs briefed the case in the district court, so it is

hardly surprising that Plaintiffs did not make specific factual or legal

contentions that would have supported their arguments under Bevis.

     Even if the timing issue did not fully explain any of Plaintiffs’

omissions below, it would not matter. It is well-settled that “when a new

argument supports a claim made before the district court, [this Court]

will usually address it.” Bew v. City of Chicago, 252 F.3d 891, 895 (7th

Cir. 2001); Lebron v. Nat’l R.R. Passenger Corp., 513 U.S. 374, 379 (1995).

Here, where Plaintiffs continue to press the same claim—that the

Ordinance is unconstitutional under the Second Amendment—and at



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most “offer[] a new twist on [previously made] argument[s] based upon

additional authority on appeal,” a finding of forfeiture would be

inappropriate. United States v. Billups, 536 F.3d 574, 578 (7th Cir. 2008).

     3.    The County claims that Plaintiffs’ reliance on certain factual

material is inappropriate because Plaintiffs either did not disclose that

evidence below or did not cite it in their affirmative Rule 56.1 statement

of material facts. County Br. 20. To be clear, Plaintiffs provided the

County with adequate notice and copious material in the district court.

In their response to the County’s lengthy Rule 56 statement of material

fact, Plaintiffs provided the County with over 2,000 pages of exhibits,

included among which were most, if not all, of the documents and sources

Plaintiffs have cited here and to which the County now objects. See D. Ct.

Docs. 98-1–98-13, Exs. 1–105. Thus, when the County claims, for

example, that Plaintiffs “fail[ed] to properly present [surveys of gun

owners regarding the types of firearms they own] to the district court

below,” County Br. 31, its objection is not to Plaintiffs having failed to

provide notice of these surveys below, but to the way in which they were

referenced in the summary judgment record. Given that Plaintiffs cited

one of these surveys in their complaint, see D. Ct. Doc. 1, ¶ 27 (citing



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William English, 2021 National Firearms Survey, https://bit.ly/3rYa13k),

any claim to lack of notice is baseless. As for the form of Plaintiffs’

reference to them, in addition to attaching these documents to their

response to the County’s Rule 56 statement, Plaintiffs cited those that

were relevant to their affirmative case in the argument section of their

own summary judgment brief. See D. Ct. Doc. 102 at 8–10.

      This was entirely appropriate, given that these surveys (and the

law review articles, journal articles, and books Plaintiffs cited in their

briefs below and to this Court), all pertain to “legislative facts,” or general

facts about the world, not specific to the parties before the Court, to which

the rules of evidence do not apply. See FED. R. EVID. 201 & 1972 Advisory

Committee Notes; see also Ind. Harbor Belt R.R. Co. v. Am. Cyanamid

Co., 916 F.2d 1174, 1182 (7th Cir. 1990). Because such facts are the

underpinnings of a legal argument, “[legislative] facts and the sources

from which they are derived could be incorporated in the argument

section of the brief, but they can with equal propriety be set forth in the

statement of facts.” Wiesmueller v. Kosobucki, 547 F.3d 740, 742 (7th Cir.

2008) (discussing Seventh Circuit Rule 28). That Plaintiffs took the

former approach does not justify the County’s request to this Court to



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blind itself on appeal. And because the rules of evidence do not apply to

such facts, the County’s claim that, in addition to not being disclosed, the

objected-to surveys are “double hearsay,” see County Br. 31, may be

rejected out of hand.

     Indeed, even if Plaintiffs had not disclosed any of the sources in

their opening brief in the district court or made them part of the record

below in some way, this Court’s review of them would still be

unrestricted. This Court gives de novo review to determinations of

legislative fact, see Free v. Peters, 12 F.3d 700, 705–06 (7th Cir. 1993),

and it is not limited to the record below in reviewing materials on which

to make “findings” of legislative fact, as the Supreme Court’s practice

amply demonstrates. See Dunagin v. City of Oxford, 718 F.2d 738, 748

n.8 (5th Cir. 1983) (en banc) (Reavley, J., plurality op.) (“The writings

and studies of social science experts on legislative facts are often

considered and cited by the Supreme Court with or without introduction

into the record or even consideration by the trial court.”). Indeed, the

Supreme Court in both Heller and Bruen directly engaged with

legislative facts regardless of whether they had been cited below, going

so far as to decline, in both cases, specific requests to remand for factual



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findings to be made in the district court. See Br. for the United States as

Amicus Curiae at 31 n.9, District of Columbia v. Heller, No. 07-290 (U.S.

Jan. 11, 2008); Bruen, 597 U.S. at 33 n.8. More recently, in a case

presenting the same sort of questions under Bruen as this one, the Fourth

Circuit held that review of sources of facts that are potentially relevant

to deciding the constitutionality of a ban on certain types of arms is

unrestricted. See Bianchi v. Brown, 111 F.4th 438, 461 n.2 (4th Cir.

2024); see also Teter v. Lopez, 76 F.4th 938, 946–47 (9th Cir. 2023), reh’g

en banc granted, op. vacated, 93 F.4th 1150 (2024) (Mem.). There is,

therefore, no justification for this Court to ignore the myriad evidence of

“common use” or of any of the other legislative facts on which the

constitutionality of the Cook County ban depends.

     4.    The County argues that Plaintiffs should not be permitted

respond to the assertion that United States v. Rahimi, 144 S. Ct. 1889

(2024), supports the Bevis standard, because Plaintiffs did not argue that

Rahimi undermined Bevis in their opening brief. See County Br. 23–24.

It of course does not violate waiver principles to permit Plaintiffs to reply

to an argument made in a response brief, and in any event, Plaintiffs did

assert that “Rahimi … further undermin[ed] … Bevis.” Pls.’ Br. 23.



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Plaintiffs did not discuss Rahimi at length in their opening brief simply

because it does not change the analysis in this case. Rahimi reaffirmed

that courts and litigants must determine whether a modern regulation

“comport[s] with the principles underlying the Second Amendment.” 144

S. Ct. at 1898. Heller and Bruen both already recognized the relevant

historic principle, “common use,” against which to compare the County

Ban, and the County Ban comes up wanting.

        C. Plaintiffs Can and Should Prevail Under Bevis.

     Surprisingly, given that it finds waiver and forfeiture everywhere

it looks, the County responds to just two of Plaintiffs’ arguments

regarding how to apply Bevis in this case. First, it objects that Plaintiffs’

evidence regarding the comparative rates of semiautomatic and

automatic fire was before the Bevis panel. County Br. 21–22. But as

Plaintiffs explained, Bevis did not address that any difference in rate of

fire is of secondary importance to the (related) difference in accuracy

between the two types of firearms. See Pls.’ Br. 55–56 (citing Rifle

Marksmanship: M16-/M4-Series Weapons, DEP’T OF THE ARMY (2008),

https://bit.ly/3pvS3SW (D. Ct. Doc. 98-1, Ex. 7)). The County has no

answer for this critical distinction between automatic and semiautomatic



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fire. Second, the County responds to Plaintiffs’ explanation that the

banned “muzzle shroud” [sic] (the County presumably means to refer to

a “barrel shroud”) feature improves safety and accuracy by protecting a

rifle-user’s hand from being burned by a hot barrel on the bizarre ground

that this is, itself, a problem necessitated only by “the extreme heat

created by rapid fire, which explains why ordinary handguns not capable

of such rapid fire are not equipped with similar ‘ergonomic’ features.”

County Br. 22 n.1. Both semiautomatic rifles and handguns fire once per

pull of the trigger, and the absence of a barrel shroud on many handguns

is easily explained by the fact that, unlike a rifle, many handguns are not

held with a secondary grip on the barrel. The remainder of Plaintiffs’

arguments under Bevis are ignored by the County.

III.   This Court Should Overrule Bevis As Inconsistent With
       Bruen.

       Bevis is fundamentally inconsistent with Heller, Bruen, and

Rahimi, and should be overruled. Bruen elaborated upon the mode of

analysis employed by Heller, but did not change Heller. See Bruen, 597

U.S. at 17. And Heller definitively explained that all weapons, even

“dangerous and unusual” ones, are “arms” within the meaning of the

Second Amendment’s plain text. 554 U.S. at 581–82. The “dangerous and


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unusual” limitation is a historical principle that helps define the scope of

the right, but by its own terms it does not apply to arms that are “in

common use” among ordinary Americans today. Id. at 627. That the

Seventh Circuit’s Bevis analysis is inconsistent with binding Supreme

Court precedent—since it narrows the text and purports to identify a

different historical restriction that conflicts with the one identified in

Heller—is a compelling reason to overrule circuit precedent pursuant to

7th Cir. R. 40(e). See Saban v. U.S. Dep’t of Lab., 509 F.3d 376, 379 (7th

Cir. 2007) (overruling precedent as “contrary to Supreme Court decisions

that have not been overruled” and predated the precedent in question).

     The County argues that because these “exact argument[s] [were]

made by the Bevis plaintiffs” they cannot show a compelling reason to

overrule Bevis. But given that Plaintiffs’ argument is that two binding

cases that were 15 and 2 years old at the time Bevis was decided are

directly contrary to Bevis, it would be surprising if the arguments

Plaintiffs made in this case were different than those made to in Bevis.

That the panel got the issues wrong for reasons that were clear at the

time is not a reason to reject Plaintiffs’ arguments.




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        A. The Plain Text of the Second Amendment Includes
           Even “Dangerous and Unusual” Arms Within “Arms.”

     The Bevis panel erred in concluding that “arms” must have a

narrower meaning than any “[w]eapons of offence, or armour of defence,”

Heller, 554 U.S. at 581 (quoting 1 DICTIONARY OF THE ENGLISH LANGUAGE

106 (4th ed.) (reprinted 1978)), a definition that includes, at a minimum,

“all firearms,” Heller, 554 U.S. at 581. That conclusion was based on a

fundamental misunderstanding of where “common use” and “dangerous

and unusual” fit into the Bruen framework and of what Heller meant

when it said that “arms” included, “then as now, … weapons that were

not specifically designed for military use” (it was not limiting the term to

the civilian context, but expanding it beyond just the military context),

see Pls.’ Br. 19–28; Heller, 554 U.S. at 581.

     The County responds that Heller’s textual holding that “arms”

includes all “bearable arms” was not an ultimate interpretation of the

term but only a presumptive one, “absent more evidence,” “[a]s indicated

by the Court’s inclusion of the term ‘prima facie.’ ” County Br. 24. And it

suggests that it now has evidence that shows the true textual meaning of

the term is narrower than Heller thought.




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     This argument is foreclosed by Heller, which had to construe the

term “arms” as a necessary part of its holding, in that case, that

handguns are categorically protected by the Second Amendment. It is

true that, at the conclusion of the Court’s textual analysis, Heller

summarized its findings by stating that “the Second Amendment

extends, prima facie, to all instruments that constitute bearable arms,”

554 U.S. at 582, but that does not mean there was anything tentative

about the Supreme Court’s interpretation. As both Heller and Bruen

make clear, the issue of whether it the Amendment protects an arm

depends on both text and history, so any textual conclusion is necessarily

preliminary, or prima facie, Bruen, 597 U.S. at 24, within the scope of the

broader analysis. That is why there is no contradiction in holding, as

Heller did, that the textual meaning of “arms” is broad enough to include

items that have historically been banned, even if those historic bans are

constitutional. But further analysis is not, as the County suggests,

textual. Rather, as the Court made clear in Bruen, restrictions that

implicate conduct within the plain-text meaning must be justified by

history, and the County has the burden to prove that history supports its

regulation. Id. at 27.



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     Because the County fundamentally misunderstands this point, its

remaining “textual arguments”—which deal with the concepts of

“dangerous and unusual” and “in common use” are all, actually, historical

arguments. As such, Plaintiffs address them below.

        B. The County Has No Historical Support for Its Weapons
           Ban.

           1. The Banned Firearms Are “In Common Use.”

     Following its textual analysis, Heller thoroughly examined our

history and determined there were just two historical traditions relevant

to defining which firearms are, or are not, protected by the Second

Amendment: (1) “the historical tradition of prohibiting the carrying of

‘dangerous and unusual weapons,’ ” and (2) that “at the time of the

Second Amendment’s ratification,” citizens called on to participate in the

militia “would bring the sorts of lawful weapons that they possessed at

home to militia duty.” 554 U.S. at 627. From these traditions, the Court

derived a principle that is dispositive of this case: “the sorts of weapons

protected [are] those ‘in common use at the time’ ” for lawful purposes.

Id. (quoting United States v. Miller, 307 U.S. 174, 179 (1939)); see Pls.’

Br. 24–28. As such, because the arms Cook County bans are in common




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use by law-abiding citizens for lawful purposes, Cook County’s ban is

unconstitutional. See Pls.’ Br. 48–53.

     The County argues otherwise, claiming that “common use” should

be understood, based on State v. Huntly, 25 N.C. 418 (1843), not to refer

to firearms that are commonly owned but only those that are commonly

carried or worn by a person, County Br. 25–26 (citing Huntly, 25 N.C. at

422). But Huntly merely confirmed that the common law crime of affray,

carrying firearms in a manner intended to cause terror, was not

inconsistent with the Second Amendment, and the North Carolina

Supreme Court held, in that context, that “the carrying of a gun per se

constitutes no offence” and that it is only carrying such an arm for a

“wicked purpose … which essentially constitute[s] the crime.” 25 N.C. at

422–23. Indeed, Huntly stressed that there was “scarcely a man in the

community who [did] not own and occasionally use a gun of some sort.”

Id. at 422. As a result, it was the carrying of the weapon in a way

calculated to cause harm and spread fear (Huntly had been publicly

declaring that “he would kill James H. Ratcliff … [an]d that there were

four or five men whom he meant to kill”) that constituted the criminal

act. The County cites other sources from the 16th and 17th century that



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described the crime of affray in similar terms, see County Br. at 26, but

they do not differ from Huntly or suggest that a firearm is unusual merely

because it can be put to criminal ends.

     The County next points to Bailey v. United States, 516 U.S. 137

(1995) for support of its narrow reading of “use,” In that case, the Court

construed the word “use” in a law prohibiting “use” of a firearm “during

and in relation to any crime of violence or drug trafficking crime.” Id. at

142 (quoting 18 U.S.C. § 924(c)(1)(A)); see County Br. 26. But Bailey

provides no support to the County, as its reading of “use” was specific to

the statutory context. Indeed, the Court initially noted how potentially

broad the term “use” could be in connection with firearms: “Consider the

paradoxical statement: ‘I use a gun to protect my house, but I’ve never

had to use it.’ ‘Use’ draws its meaning from its context,” and it was that

statutory context that drove the Court to hold a narrower meaning was

intended, since Congress had made it a crime when a person either “uses”

or “carries” a firearm and the broader meaning of “use,” if adopted, would

leave no room for “carry” to do any work. Bailey, 156 U.S. at 143; see also

id. (“Had Congress intended possession alone to trigger liability … it

easily could have so provided.”).



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      Here, unlike in Bailey, Heller repeatedly equated “use” with

possession. Heller explained, in support of the line it drew between

“dangerous and unusual weapons” and protected arms, that citizens

would “bring the sorts of lawful weapons that they possessed at home to

militia duty,” 554 U.S. at 627 (emphasis added), it said that the weapons

that fell outside of protection were those “not typically possessed by law-

abiding citizens for lawful purposes,” id. at 625 (emphasis added), and its

ultimate holding was based on the fact that handguns are “the most

popular weapon chosen by Americans for self-defense in the home,” id. at

629 (emphasis added).

      The text of the Second Amendment itself rejects the County’s

position, as it protects both a right to keep (i.e., possess) and to bear (i.e.,

to carry) weapons. See id. at 592. Given this reality, it would be odd if

possession were not a constitutionally relevant “use” of a firearm. See

Bruen, 597 U.S. at 32 (“Although individuals often ‘keep’ firearms in their

home, at the ready for self-defense, most do not ‘bear’ (i.e., carry) them in

the home beyond moments of actual confrontation. To confine the right

to ‘bear’ arms to the home would nullify half of the Second Amendment’s

operative protections.”).



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     The County’s narrow vision of “common use” is also refuted by the

way that Justices of the Supreme Court have applied the test in other

cases; they have never required a showing that the arm in question is

commonly carried. See Caetano v. Massachusetts, 577 U.S. 411, 420

(2016) (Alito, J., concurring) (The “relevant statistic is that hundreds of

thousands of Tasers and stun guns have been sold to private citizens, who

it appears may lawfully possess them in 45 states.” (cleaned up));

Friedman v. City of Highland Park, 136 S. Ct. 447, 449 (2015) (Thomas,

J., dissenting from the denial of certiorari) (explaining that “AR-style

semiautomatic rifles” are “common semiautomatic firearms used for

lawful purposes” because “[r]oughly five million Americans own” them);

Heller v. District of Columbia, 670 F.3d 1244, 1287 (D.C. Cir. 2011)

(“Heller II”) (“Semi-automatic rifles remain in common use today ….

According to one source, about 40 percent of rifles sold in 2010 were semi-

automatic.”).

     The County argues that “[f]ocus[ing] on the commonness of actual

open, public use of a firearm, rather than mere ownership, best respects

the common-use principle’s origins in the law of affray.” County Br. 27.

Though this statement admirably admits to the historical origins of this



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issue, it eliminates half of them. As Plaintiffs have explained, Heller also

relied on the tradition of bringing “the sorts of lawful weapons that they

possessed at home to militia duty.” 554 U.S. at 627. There is no indication

that such firearms were commonly carried in public for self-defense,

rather than commonly owned and used publicly only for militia duty. It

simply does not make any sense, given the stated purpose of the right

was to enable collective self-defense through the militia, to require a

firearm to be commonly carried for personal self-defense to merit

constitutional protection. Such a rule not only permits the banning of the

so-called “assault weapons” targeted by Cook County’s rule, but of any

rifle or shotgun, none of which are commonly carried for self-defense. And

this argument entirely ignores the fact that, in this case, as in Heller,

Plaintiffs simply claim a right to possess the banned firearms. Perhaps

the analysis would be different in a suit about carrying AR-15s in public,

but that is not this case. The County can offer no good reason, under

governing precedent, the text of the Second Amendment, or even common

sense, why the right to possess a given arm in the home should depend

on how often it is carried publicly for self-defense.




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      The County’s last line of defense for its limited view of “use” is to

point to certain examples of allegedly unprotected firearms—e.g.,

machine guns and short-barreled shotguns—and to explain how those

firearms can be banned under its interpretation. See County Br. 28. But

the “common use” analysis for those firearms applies the same way

regardless of whether this Court adopts the County’s narrow

understanding of “use” or not. Indeed, one of the County’s examples, the

short-barreled shotgun, was the specific example of a “weapon[] not

typically possessed by law-abiding citizens for lawful purposes” that

Heller discussed. 554 U.S. at 625 (emphasis added). The Thompson

machine gun, on which the County also relies, was notable for selling

poorly in the civilian marketplace. See Dave Campbell, A Look Back at

the   Thompson         Submachine      Gun,     NRA       (Apr.      17,      2019),

https://bit.ly/3ZlZL5y. And the County’s complaint that chainsaws are

commonly owned but nevertheless, if “openly wield[ed] while strolling

down Michigan Avenue,” would cause terror, illustrates precisely why it

makes no sense to look to common carriage as the benchmark for

constitutional protection of arms plaintiffs seek to “keep” in their homes.

While a chainsaw “wield[ed]” on Michigan Avenue could be terrifying



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depending on the circumstances (not, for example, if wielded by a

landscaper trimming trees), one stored in a garage or shed for use in

yardwork would not raise any eyebrows, and this Court would surely look

askance at an attempt to ban ownership of such a useful landscaping tool

because the County fears its public misuse. Plaintiffs seek simply to

possess semiautomatic rifles, including AR-15-stye rifles, in their homes

to be ready “in case of confrontation.” Heller, 554 U.S. at 592. That is

constitutionally relevant “use,” and the County’s ban is therefore

unconstitutional.

           2. There Is No Tradition of Banning “Dangerous”
              Weapons Unless They Are Also Unusual.

     The County argues both as a matter of “text” and history, that its

Ban is constitutional because “dangerous” weapons are categorically

excluded from the Second Amendment’s coverage. County Br. 33–34, 46.

As Plaintiffs explained at length in their opening brief, this argument

fails as a textual matter. Pls.’ Br. 24–25. And in any event, regardless of

whether it is considered as part of the text or of history, there is no

“dangerous” limitation that can deprive a firearm of constitutional

protection without a corresponding finding that the firearm is “unusual”

also. See Heller, 554 U.S. at 627.


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     The County objects that Plaintiffs are “read[ing] a Supreme Court

decision like a statute, which is never appropriate,” when Plaintiffs insist

that, when Heller and Bruen used the conjunctive “dangerous and

unusual” formulation to describe the relevant historical tradition, it was

not misspeaking. County Br. 31. It counters that Blackstone used the

disjunctive “dangerous or unusual” formulation and argues that

Plaintiffs’ “reading puts Heller in conflict … with the very passage of

Blackstone it cited.” Id. (emphasis omitted). The Supreme Court in Heller

and again in Bruen has repeatedly used the conjunctive formulation, and

this Court cannot ignore the carefully chosen language of the Supreme

Court. See Heller, 554 U.S. at 627; Bruen, 597 U.S. at 21, 47. What is

more, the County’s reading puts Heller at odds with itself. Handguns

were determined to be protected in Heller even though all of the County’s

“dangerous” arguments could be made, and in fact were made, much

more persuasively in favor of banning handguns. See Br. of Violence Pol’y

Ctr. et al. as Amici Curiae in Supp. of Pet’rs at 15–28, District of

Columbia v. Heller, No. 07-290, 2008 WL 136348 (U.S. Jan. 11, 2008)

(arguing, e.g., that “Handguns Continue to be Responsible for a

Disproportionately High Number of Homicides, Including Mass



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Shootings” (emphasis omitted)); Crime Data Explorer: Expanded

Homicide Offenses Characteristics in the United States, U.S. DEP’T OF

JUST., FBI, https://bit.ly/3IF5A6M (last visited Oct. 16, 2024) (select the

time frame “past 10 years”) (averaging 368 rifle homicides per year,

compared to 6,573 committed with handguns, 1,452 with knives, and 629

using personal weapons (i.e., hands and feet)); Sarah Kollmorgen,

Chicago Criminals’ Favorite Gunmakers: A Visual Ranking, THE TRACE

(Jan. 6, 2016), https://bit.ly/41tIDv7 (D. Ct. Doc. 98-8, Ex. 76) (showing

that all 20 of the top 20 firearms seized by Chicago police in 2014 were

handguns); see also D. Ct. Doc. 98, ¶ 114; Daniel W. Webster et al.,

Evidence concerning the regulation of firearms design, sale, and carrying

on fatal mass shootings in the United States, 19 CRIMINOLOGY & PUB.

POL’Y 171, 188 (2020) (D. Ct. Doc. 98-5, Ex. 45); Benjamin M. Blau et al.,

Guns, laws and public shootings in the United States, 48 APPLIED ECON.

1, 1–15 (2016) (D. Ct. Doc. 98-6, Ex. 58) (finding that use of handguns,

but not assault weapons, is associated with more victims in mass

shootings). As then-judge Kavanaugh explained, “if we are constrained

to use [the County’s] rhetoric, we would have to say that handguns are

the quintessential ‘assault weapons’ in today’s society.” Heller II, 670



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F.3d at 1290 (Kavanaugh, J., dissenting). If there were a separate, free-

floating “dangerous” principle that depended on the criminal misuse of

the arm in question, then it would have been impossible for Heller to be

decided as it was.

     Of course, Heller is not at war with itself. Heller treated the terms

“dangerous and unusual” as conjunctive and therefore, the fact that

handguns are “in common use” was dispositive. Pls.’ Br. 12; see also id.

at 48–53 (reviewing overwhelming evidence of commonality). And even if

the test were disjunctive, that ultimately would not make a difference.

The question whether an arm was too dangerous would be “dangerous

compared to what?” And the most apt comparator would be arms that are

in common use, as it would make no sense to say that arms that are or

are comparable to arms in common use are unusually dangerous. And of

course the arms at issue here are in common use so they cannot be

unusually dangerous.

     The County also argues that Plaintiffs are “conspicuously unable to

identify even a single statement in Heller or Bruen identifying

[‘dangerous and unusual’] as the only historical tradition that might be

considered at Bruen’s second step.” County Br. 54. But that is not true.



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Both Bruen and Heller state that arms that are not unusual, but are in

common use, are categorically protected and cannot be banned. Bruen,

597 U.S. at 21; Heller, 554 U.S. at 626–27. As such, a firearm not being

unusual is conclusive proof of its protected status. The County has no

response other than to tell this Court it should blind itself to this

evidence, but as discussed above, doing so would be inappropriate.

            3. The Banned Firearms Are Not “Dangerous” In Any
               Constitutionally Relevant Way.

       The County argues that the banned firearms are “dangerous” for

several invalid reasons.

       First, the County claims that “the Framers understood ‘dangerous’

weapons to encompass ‘militaristic’ weapons—weapons fundamentally

incompatible with longstanding principles of moderate, proportionate

self-defense,” and suggests that the banned firearms are such weapons.

This is wrong twice over. The County cites no relevant law (ignoring, for

instance, the irrelevant principles of Roman law, see County Br. 34–35)

that banned possessing arms that are useful for military purposes, and

in fact, at the Founding, civilians were legally required to own such

firearms. See Militia Act of 1792, Act of May 8, 1792, ch. 33, 1 Stat. 271,

§ 1.


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     Nor is it true that the banned rifles are “militaristic” because they

are more powerful than handguns. Indeed, handguns themselves are

issued to servicemembers by militaries the world over, including in the

United States. See Bevis, 85 F.4th at n.8 (“Obviously, many weapons are

‘dual use[.]’ … In this sense, there is a thumb on the scale in favor of

Second Amendment protection.”).

     The County nevertheless claims that, because of they have power

(but not automatic fire capability) similar to some firearms used by the

military, the banned firearms are “fundamentally incompatible with the

common-law right to moderate, proportional self-defense protected by the

Second Amendment,” County Br. 41, and it cites cases holding that

excessive force may not be used in self-defense. This argument simply

does not make sense. Of course, if lethal force is disproportionate to the

needs of self-defense, using any firearm, including the banned firearms,

would be “excessive.” But in Illinois (as elsewhere), “[i]f a person is

confronted with such means or force as to induce a reasonable belief that

he is in danger of loss of life or of suffering great bodily harm, that is all

the law requires to justify a killing as self-defense.” People v. White, 409

N.E. 2d 73, 75 (Ill. App. Ct. 1980). And once lethal force is justified,



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Plaintiffs are aware of no case—and the County has certainly supplied

none—holding that certain force is too lethal to be justified.

     The County suggests that historic prohibitions on trap or spring

guns support this principle, but even in its own telling, those laws are

disanalogous to the County Ban. The County admits they “were not based

on spring guns’ unusual lethality or other destructive potential,” which

“were largely similar to ordinary handguns and rifles, only modified to

fire remotely.” County Br. 42. This is fatal to any analogy under Bruen

which requires relevant similarity, 597 U.S. at 28–29, given that

“unusual lethality” is precisely the basis on which the County claims the

banned firearms are unsuitable for self-defense, County Br. 42; see id. at

44. Spring or trap gun laws are readily understood as violating the

principle that self-defense firing of a firearm must be justified by a lethal

threat, because they were rigged to fire without a human deciding in the

moment to pull the trigger—the lack of human control, an element

completely absent from the banned firearms, meant that they were

indiscriminate and posed an unacceptable risk of harm to innocent

individuals. The banned semiautomatic firearms, on the other hand, are

completely different. In fact, many of the very features that the County



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targets with its ban—pistol grips, adjustable stocks, and barrel shrouds,

all make it easier to fire the banned rifles comfortably and accurately and

assist with controlling recoil. See Pls.’ Br. 43–48; D. Ct. Doc. 98, ¶ 20. The

County nevertheless claims, based on “use in terrorism, mass killing, and

police murder,” that the banned arms have a “recognized capacity for

inflicting indiscriminate harm on innocents.” County Br. 45. But this

elides the critical difference between a trap gun harming an innocent

person truly indiscriminately, as a function of the weapon configuration

itself, and the horrific, intentional criminal misuse through which the

banned firearms can be used to harm innocents. As explained above, if

criminal misuse were enough to deprive law-abiding citizens of the right

to possess a certain firearm, then Heller would have been decided

differently.

      There is, in any event, nothing in the County’s brief that shows that

the banned firearms are more “dangerous” than other common arms

when wielded by a law-abiding citizen. The County repeats outlandish

claims regarding the ability of 5.56 NATO ammunition (which is not

banned by the County), to cause decapitation or to explode limbs, County

Br. 44, but these claims are based on initial field reports about the M16



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that the Army could never—despite trying—replicate, see David Kopel,

How powerful are AR rifles?, REASON (Feb. 27, 2023) (D. Ct. Doc. 98-3,

Ex. 26), and actual military experience with the round has showed it is

often underpowered for military uses, rather than overpowered, see

Anthony F. Milavic, It’s the Cartridge, Stupid—Not the Rifle, U.S. NAVAL

INST. (Aug. 2002) (D. Ct. Doc. 98-9, Ex. 84). The County also complains

that the AR-15 has too great an effective range and can pierce body

armor, County Br. 44, but these arguments sweep too broadly.

“[V]irtually all rifle ammunition will penetrate soft body armor,” an “AR-

15 is no better at piercing soft body armor than any other rifle of the same

caliber,” STEPHEN HALBROOK, AMERICA’S RIFLE: THE CASE FOR THE AR-15

393 (2022) (D. Ct. Doc. 98-1, Ex. 3), and other semiautomatic centerfire

rifles which are not banned are equal to or more powerful than the AR-

15, see Jacob Sullum, Neither ‘Capacity’ Nor ‘Power’ Distinguishes

‘Assault Weapons’ From Other Firearms, REASON (Oct. 31, 2018) (D. Ct.

Doc. 98-4, Ex. 39).

     Second, the County argues the banned arms are “dangerous”

because, it claims, they “have become indelibly linked to mass shootings

in the popular consciousness.” County Br. 29. Indeed, the County goes so



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far as to (wrongly) claim that Plaintiffs “do[] not seriously dispute that

such weapons are commonly—indeed, repeatedly—used for the unlawful

purpose of massacring innocent civilians.” Id. at 30; but see id. at 32

(“Viramontes argues that assault weapons are ‘rarely’ used for ‘violent

crime.’ ”). But as explained above, what matters under Heller is not

criminal misuse, but lawful proper use.

     Third, the County cannot show that AR-15-style rifles and similar

firearms are “dangerous” based on historical laws “restricting access to

weapons capable of inflicting rapid mass casualties, as demonstrated by

historical regulations of gunpowder.” Id. at 48. Pointing to these

historical laws, the County claims that “[u]nlike cannons … gunpowder

could be acquired and stored by average citizens,” though states and

localities enacted regulations regarding the method and quantity of their

storage. Id. The County claims that these laws and the County’s Ban

have the same “why” because both gunpowder and the banned firearms

“give a single individual the extraordinary ability to kill great numbers

of people quickly,” and the same “how” because both imposed a “minimal

burden on armed self-defense” because the County has left some firearms

(as-yet) unbanned. Id. at 51–53. These statements are wrong. First, the



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County’s claim that cannons, unlike gunpowder, were not available to

private individuals, is typical of its historical analysis. It provides no

citation for the claim, and in fact there is no law that prohibited private

cannon ownership at any time in our country’s history. See Louis

Jacobson, Fact-check: Could individuals own cannons during the

Revolutionary    War?,   AUSTIN       AM.-STATESMAN       (June   30,      2020),

https://bit.ly/3AdxCp8; Joseph E. Persico, The Great Gun Merchant, 25

AM. HERITAGE (Aug. 1974), https://bit.ly/48bDEmW. Second, the County’s

argument about the “how” and the “why” of these laws is flatly

inconsistent with Heller, which correctly classed them not as prohibitions

on mass-casualty weapons, but rather as “fire-safety laws,” that “do not

remotely burden the right of self-defense as much as an absolute ban on

handguns.” 554 U.S. at 632. And the burden is no less when the object of

the ban is “assault weapons” as opposed to handguns, as the County

suggests. See County Br. 53. “It is no answer” to the charge that the

County has banned one means of self-defense, to say that others remain

available. Heller, 554 U.S. at 629.




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                            CONCLUSION

     The Court should reverse the judgment of the district court and

remand with instructions to enter judgment in Plaintiffs’ favor.

Dated: October 18, 2024               Respectfully Submitted,

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     This brief complies with the type-volume limitation of Circuit Rule

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     October 18, 2024                /S/ David H. Thompson
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                      CERTIFICATE OF SERVICE

     I hereby certify that on October 18, 2024, I electronically filed the

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